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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

CIVIL ACTION NO. 09-11164-NMG

GUEST-TEK INTERACTIVE ENTERTAINMENT
INC., and GUEST-TEK INTERACTIVE
ENTERTAINMENT LTD.,

Plaintiff,
v.

THOMAS PULLEN and PUREHD INC.,

Defendants.

PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR LEAVE
TO AMEND THE COMPLAINT AND ADD DEFENDANTS SOLUTIONINC LTD. AND
GLEN LAVIGNE
Plaintiffs, Guest-Tek Interactive Entertainment, Inc. and Guest-Tek Interactive

Entertainment LTD, (collectively, “Guest-Tek”) move the Court for leave to amend to add
SolutionInc Ltd. (““SolutionInc”) and Glen Lavigne (“Lavigne”) as defendants in this case. A

copy of the proposed Amended Complaint is attached as Exhibit A.

SUMMARY OF ARGUMENT

On Sunday night, May 3, 2009, defendant Thomas Pullen (“Pullen”) abruptly resigned
from Guest-Tek. Through a forensic review of Pullen’s laptop computer after he resigned,
Guest-Tek learned that Pullen had been planning his resignation for no less than eight months.
During this eight month period, Pullen misappropriated thousands of documents containing
confidential and proprietary business information and trade secrets from Guest-Tek. Pullen also
actively deceived Guest-Tek by pushing to obtain confidential documents and by injecting

himself into numerous Guest-Tek meetings during which Guest-Tek’s trade secrets and
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confidential and proprietary information were discussed and distributed. All the while, Pullen
knew he was leaving to set up a competing entity. After soaking up Guest-Tek’s trade secrets
and confidential and proprietary business information, Pullen resigned and started a competing
company called PureHD Inc. (“PureHD”). While Guest-Tek was aware that SolutionInc and
Lavigne had some involvement in the formation of PureHD from the initial forensic review,
Guest-Tek was unaware of the extent of that involvement until now. Since filing the initial
Complaint, Guest-Tek has learned through additional forensic analysis and discovery, that
SolutionInc and Lavigne, SolutionInc’s President, inter alia, aided and abetted Pullen’s breach of
fiduciary duty and conspired with Pullen and PureHD to steal Guest-Tek’s trade secrets and
confidential and proprietary information and form an entity to unlawfully compete with Guest-
Tek.

Despite the fact that Pullen and PureHD (“Defendants”) have been stonewalling
discovery in this case, the limited production available to date makes it abundantly clear that
SolutionInc and Lavigne are far more than just passive investors in PureHD as originally
believed. Rather, they were and are, intimately involved in the formation and operation of
PureHD. For example, Lavigne and SolutionInc have received and retained Guest-Tek’s
confidential and proprietary business information and trade secrets, have hired Guest-Tek
employees and have “partnered” with Pullen and PureHD in making proposals to Guest-Tek’s
customers, potential customers and employees utilizing Guest-Tek’s confidential and proprietary
business information and trade secrets.

As explained in the Amended Complaint, SolutionInc and Guest-Tek compete in the high
speed internet access and voice over internet protocol market. SolutionInc did not compete with

Guest-Tek in the free-to-guest (“FTG”) market. What the early stages of discovery have shown
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is that SolutionInc wanted to get into the FTG market, but apparently did not want to spend the
millions of dollars on the research and development necessary to enter it on their own. Instead,
SolutionInc located a willing conspirator, Pullen, who had access to Guest-Tek’s trade secrets
and confidential and proprietary business information and conspired with Pullen to
misappropriate that information and use it to form a competing venture, PureHD and penetrate
the FTG market. Not only are Pullen and PureHD liable, inter alia, for misappropriating Guest-
Tek’s confidential information, SolutionInc and Lavigne are liable for, inter alia, aiding and
abetting Pullen’s breach of fiduciary duty and of conspiring with Pullen to use Guest-Tek’s
confidential information as the basis for PureHD.

PROCEDURAL HISTORY

Guest-Tek commenced this action against Defendants Pullen and PureHD on July 9,
5009. Because Pullen misappropriated thousands, if not tens of thousands, of Guest-Tek
documents and electronic files, Guest-Tek immediately sought an injunction preventing
Defendants from using or disclosing Guest-Tek’s trade secrets and confidential and proprietary
business information. After significant negotiation, during which Defendants necessarily
acknowledged that Pullen misappropriated Guest-Tek’s information, on August 7, 2009, the
parties entered into a Stipulated Order that prevented Defendants from continuing to access
Guest-Tek’s trade secrets and confidential and proprietary information (Docket No. 10). The
parties also entered into an Assented to Motion for Expedited Discovery (Docket No. 11). On
August 28, 2009, the Court granted the Assented to Motion for Expedited Discovery (the
“Expedited Discovery Order”).

Under the Expedited Discovery Order, the parties were permitted to serve up to seven
requests for documents and interrogatories; responses to these discovery requests were due

within twenty days. Pursuant to the Expedited Discovery Order, Guest-Tek served documents
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requests on September 1, 2009. To date, Defendants have not produced all the responsive
documents to Guest-Tek’s initial or “expedited” requests. Moreover, Defendants have dribbled
out documents in deliberately slow fashion. It is readily apparent from Defendants’ obfuscation
that their true goal is to “run out the clock” so Guest-Tek cannot discover the true extent of
Defendants’ wrongdoing. Defendants’ document responses are a model of delay:

° On September 30, 2009, Defendants first produced fourteen pages of documents;

e On October 14, 2009 and October 22, Defendants produced approximately 650
pages of documents;

° On November 24, 2009, Defendants produced roughly another 190 pages of

documents;
° On December 30, 2009, Defendants produced four pages of documents;
° Defendants did not produce any documents in January 2010;

e Defendants produced an additional 150 pages of documents in February 2010,

More than six months later after serving the “expedited discovery”, Guest-Tek is still
missing whole categories of critical information.! Indeed, in part, because of Defendants’ lack of
responsiveness, not one deposition in this case has occurred. However, even with the limited
amount of information produced, Guest-Tek now has information that SolutionInc and Lavigne,
inter alia, are guilty of aiding and abetting Pullen’s breach of fiduciary duty and conspiring with
Pullen to use Guest-Tek’s confidential information and unlawfully compete with Guest-Tek.

SUMMARY OF NEW ALLEGATIONS

Discovery reveals that while Pullen was employed by Guest-Tek, he sent Guest-Tek’s
confidential business information and trade secrets directly to Lavigne and SolutionInc. See e.g.

Am. Compl. at {§ 39, 65, 67, 68, 75, 76 and 85-87. For example, one of the Guest-Tek

1 The discovery issues are more fully discussed in the affidavit of Christopher J. Marino, filed in connection with
Guest-Tek’s Motion to Extend the Scheduling Order.
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documents sent to Lavigne and SolutionInc was marked “confidential,” thus Lavigne and
SolutionInc knew it was a breach of Pullen’s duty to be sharing that information. Lavigne and
SolutionInc accepted this document because they all agreed they needed it to give PureHD a
“head start.” Indeed, the document sent to Lavigne and SolutionInc was aimed at satisfying
PureHD’s number one business development priority. This is just one of many examples
described in the Amended Complaint of SolutionInc and Lavigne’s unlawful conduct which
necessitates their inclusion in this case.

In sum, discovery has revealed that PureHD and SolutionInc present themselves to
potential customers as “partners.” See, e.g., Am. Compl. {ff 41-44, 80, 81 and 99. To achieve
that end, Pullen exchanged Guest-Tek’s confidential and proprietary information and trade
secrets with Lavigne and SolutionInc to form and operate PureHD. Notwithstanding their
knowledge of this unlawful conduct, Lavigne and SolutionInc for example agreed to hire Chris
Holman as a “sales agent” so Pullen could stay “underground.” In order to assist Holman to act
as “the face” of PureHD, Pullen sent confidential and proprietary information to Holman. Id. at
G9 77-78.

Defendants, including Lavigne and SolutionInc, also misappropriated Guest-Tek’s
proprietary FTG delivery methodology. Jd. at {J 41-44, 98. To accomplish that theft, Lavigne
and SolutionInc, with Pullen’s assistance, attempted to hire and, did in fact hire at least one
Guest-Tek employee with specific knowledge of Guest-Tek’s confidential and proprietary
delivery methodology. Id. at {68-72 and 74. As additional evidence of the unlawful conduct,
Pullen facilitated the recruitment of Guest-Tek employees while he was still employed at Guest-

Tek. Lavigne substantially assisted in this endeavor by preparing the offer letter — from
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SolutionInc Limited Technologies — and transmitting it to Pullen to present to the Guest-Tek
employee.

Furthermore, Defendants have submitted at least one proposal that incorporates Guest-
Tek’s FTG delivery methodology, Bill of Materials and quotes Guest-Tek’s proposal to the same
customer verbatim. In this same proposal, Pullen and PureHD describe SolutionInc as their
“partner.” Jd. at {{ 88-101.

ARGUMENT

1. GUEST-TEK MAY PERMISSIVELY JOIN DEFENDANTS IN THIS ACTION

Under Rule 20(a)(2) of the Federal Rules of Civil Procedures, Guest-Tek may join
SolutionInc and Lavigne as defendants in this action because the claims asserted against them
arise out of the same transaction, occurrence or series of transactions and occurrences. See Fed.
R. Civ. P. 20(a)(2). The Amended Complaint alleges, inter alia, that SolutionInc and Lavigne
both aided and abetted Pullen’s breach of fiduciary duty and conversion and conspired with
Pullen to misappropriate Guest-Tek’s trade secrets and confidential and proprietary business
information in order to set up an entity to unlawfully compete with Guest-Tek. See e.g., Am.
Compl. Jf 39, 41-44, 65-123. SolutionInc and Lavigne may be permissibly joined as defendants
here because their liability, for aiding and abetting and conspiracy arises out the same series of
occurrences as Pullen’s liability. Moreover, their liability under the Massachusetts Trade Secrets
Act and G.L. c. 93A, is premised on their knowing receipt and use of Guest-Tek’s confidential
and proprietary business information and trade secrets from Pullen and PureHD. See Baker v.
Gold Seal Liquors, Inc., 417 U.S. 467, 469 (1974) (interpreting phrase “transaction or
occurrence” broadly to require a “logical connection”).

I. GUEST-TEK SHOULD BE PERMITTED TO AMEND THE COMPLAINT
TO ADD DEFENDANTS SINCE LEAVE SHALL BE FREELY GIVEN

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Rule 15(a) of the Federal Rules of Civil Procedure provides that the Courts “should freely
give leave [to amend] when justice so requires.” Fed. R. Civ. P. 15(a). As the First Circuit has
noted, unless the trial court has an adequate reason to deny leave to amend, (e.g., undue delay,
bad faith, dilatory motive, futility of amendment, or prejudice) the motion should be granted.

See e.g., Glassman v. Computervision Corp., 90 F.3d 617, 622 (1st Cir. 1996). Because Guest-
Tek is only just now learning about the misconduct of SolutionInc and Lavigne, Guest-Tek
should be given leave to amend to add SolutionInc and Glen Lavigne as additional defendants.

A. Guest-Tek’s Claims Against SolutionInc And Lavigne Are Not Futile

Guest-Tek’s amendment to add SolutionInc and Lavigne is not futile. Guest-Tek seeks to
amend its Complaint to assert four claims against SolutionInc and Lavigne: (i) aiding and
abetting a breach of fiduciary duty; (ii) civil conspiracy; (iii) violations of the Massachusetts
Trade Secret Act, G.L. c. 93, §§ 42 and 42A; and (iv) violations of G.L. 93A. All of these claims
are well recognized in Massachusetts.

Massachusetts law recognizes a claim for aiding and abetting a breach of fiduciary duty.
See e.g., Arcidi v. Nat’l Ass'n of Government Employees, Inc., 447 Mass. 616, 623-624 (2006).
To plead such a claim, the plaintiff must allege: (a) a breach of fiduciary duty; (b) the defendants
knew of the breach; and (c) the defendants actively participated or substantially assisted in or
encouraged the breach so that they could not reasonably be held to have acted in good faith.
Arcidi, 447 Mass. at 623-624; Spinner v. Nutt, 417 Mass. 549, 556, 631 (1994). The Amended
Complaint alleges that Pullen breached his fiduciary duty by, among other things, stealing Guest-
Tek’s confidential information and diverting corporate opportunities, see e.g., Am. Compl. at {ff
42-44, 65-79, 88-101 and 119-123; (2) SolutionInc and Lavigne knew of Pullen’s breach because
they received the stolen trade secrets and confidential and propriety information belonging to

Guest-Tek as well as the corporate opportunities, see e.g. Am. Compl. at §§ 42-44, 65-83, 87-107
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and 119-123; and (3) that they actively and substantially assisted or encouraged the breach, see
e.g., Am. Compl. at {f] 42-44, 65-107 and 112. See Arcidi, 447 Mass. at 623-624.

Guest-Tek’s claims are not futile because Massachusetts recognizes a “concerted action”
theory of conspiracy. See e.g. Gutierrez v. Mass. Bay, 437 Mass. 396, 415 (2002); Kurker v.
Hill, 44 Mass. App. Ct. 184, 188-189 (1998). The Amended Complaint alleges that Solutioninc
and Lavigne conspired with Pullen and alleges overt acts pursuant to an agreement to injure
Guest-Tek, see e.g., Am. Compl. ff 39, 41-44, 65, 68-82, 85, 86, 89-107. See Kurker, 44 Mass.
App. Ct. 188-189; Richardson v. Northeast Hospital Corp., 71 Mass. App. Ct. 1116, *2 (2008).

The Massachusetts Trade Secret Act, G.L.c 93, § 42 et seqg., prohibits a party from using
or disclosing, without permission, confidential information acquired from another. See G.L. c.
93, § 42; see also Augat, Inc. v. Aegis, Inc., 409 Mass. 165, 172 (1993)(c. 93A violation where
defendant corporation participated with its employee in violation of his duty of loyalty to former
employer); Lawton Kitchens, Inc. v. Hogan, 18 Mass. App. Ct. 937, 939 (1984)(holding
company liable under G.L. c. 93A for theft of trade secrets). Massachusetts Jaw has long held it
improper for a competing business to use misappropriated trade secrets of its competitor. See
e.g., Eastern Marble Prods. Corp. v. Roman Marble, Inc., 372 Mass. 835, 838-839 (1977)
(holding defendant unlawfully obtained trade secret by hiring former employee of plaintiff).
Guest-Tek has alleged that Lavigne and SolutionInc used and disclosed, without permission,
Guest-Tek’s confidential information. See e.g., Am. Compl. {ff 41-44, 67-79, 85, 86 and 88-107.
In the Amended Complaint, Guest-Tek has alleged a valid claim against SolutionInc and Lavigne
for violations of G.L.c 93, § 42 et seq.

Finally, Guest-Tek’s complaint is not futile because Guest-Tek can assert a claim for

violation of G.L. c. 93A. To plead a violation of G.L. c. 93A, Guest-Tek must allege the
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interaction: (a) is “commercial” in nature; and (b) that both parties are engaged in “trade or
commerce.” Linkage Corp. v. Trustees of Boston University, 425 Mass. 1, 22-23 (1997). This
Court has already held, in denying defendant PureHD’s motion to dismiss the G.L. c. 93A claim,
that the misappropriation and use of Guest-Tek’s business record constitutes a violation of G.L.
c. 93. Guest-Tek has alleged facts necessary to show that SolutionInc and Lavigne’s conduct
was “commercial” in nature in that it was designed to give PureHD a competitive advantage, see
e.g. Am. Compl. §§ 42-45, 67-81, 84-107, 112 and 119-123, and that SolutionInc., Lavigne and
PureHD are all engaged in trade or commerce because they are direct competitors in the FTG,
VOD, and HSIA markets. See e.g, Am. Compl. f{ 13-17 and 41-44.

Guest-Tek’s claims are not futile because they assert, in painstaking detail, specific
improper conduct and e-mails engaged in by Lavigne and SolutionInc which gives rise to their

liability. For example, Guest-Tek has discovered and alleges:

° While Pullen was at Guest-Tek, Pullen was working with Shaw Cable on Guest-
Tek projects. On March 24, 2009, long before he resigned, Pullen wrote to .
Lavigne that he “needs help from your buddy at Shaw . . . . need to transfer the
GTK contracts working on now...” Pullen clearly relied upon Lavigne for the
assistance that he provided in helping move business from Guest-Tek to PureHD.
See Am. Compl. § 122;

e Pullen described to Lavigne and SolutionInc that PureHD’s most important
business development activity was to gain an EchoStar license. To that end, on
May 1, 2009, immediately before he resigned, Pullen sent to Lavigne and others
at SolutionInc Guest-Tek’s draft “Promotional Program Non-Binding Term Sheet
with EchoStar Satellite L.L.C. from his personal email account. The Term Sheet
contained proposed terms of the Guest-Tek’s contract with EchoStar. It also
contained internal Guest-Tek comments. Every page of the document is marked
“Confidential and Proprietary.” EchoStar is part of DISH Network. PureHD has
partnered with DISH Network to provide television signal as part of its FTG
package. The Term Sheet Pullen shared with Lavigne and SolutionInce would
help Defendants’ negotiations with DISH Network because it would give them a
structure for the arrangement, give them knowledge of Guest-Tek’s pricing and
give them a “head start” in the market. Am. Compl. {{ 85-86;

e Pullen with assistance from Lavigne and SolutionInc misappropriated Guest-
Tek’s FTG delivery methodology. In so doing, they deliberately targeted certain
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Guest-Tek employees for hire and did hire at least one employee. More
importantly, the offers of employment came from Lavigne and SolutionInc
through Pullen while he was employed by Guest-Tek. Am. Compl. { 41-44 and
68-74;

e Pullen misappropriated Guest-Tek’s confidential information pertaining to the
Archon REP. Ultimately, PureHD, along with its “partner” SolutionInc bid on the
Archon RFP. PureHD’s proposal copied Guest-Tek’s FTG delivery

methodology, Bill of Materials and copied verbatim certain portions of Guest-
Tek’s Archon proposal. See e.g., Am. Compl. ff 98-101;

° Over a course of many months, Pullen shared Guest-Tek’s confidential and
proprietary business information and trade secrets with Lavigne and SolutionInc.
in furtherance of their conspiracy to set up PureHD. As a result, Pullen, PureHD,
Lavigne and SolutionInc targeted Guest-Tek’s clients, used Guest-Tek template
documents and Pullen directed Guest-Tek corporate opportunities to Lavigne and
Solutioninc. See e.g, Am. Compl. {§ 65-67, 73-80, 85-86, 98-101 and 119-123;

° Lavigne and Pullen agreed to use Chris Holman as PureHD’s sales agent so
Pullen could stay underground. In furtherance of that effort, while employed at
Guest-Tek, Pullen sent Holman confidential Guest-Tek documents to assist him in
his sales effort. See e.g., Am. Compl. {77-78 and 87.

B. Defendants Are Not Unduly Prejudiced By The Addition Of Their Co-
Conspirators To The Case.

Defendants are not unduly prejudiced by the addition of Lavigne and SolutionInc because
the case is still in its infancy. To date, the parties have exchanged documents but have not taken
a single deposition. Defendants have only partly responded to Guest-Tek’s “expedited
discovery” served six months ago. Defendants have not responded in any manner to Guest-
Tek’s first request for documents served January 4, 2010. Guest-Tek has not yet answered
Defendants’ counterclaims because the counterclaims are subject to a pending motion to dismiss.
The current discovery deadline is set for April 30, 2010, but Guest-Tek has already filed a
motion to extend the Scheduling Order by six months. Based on the state of discovery in this
matter, Defendants will not be prejudiced by the addition of new defendants.

Defendants also are not prejudiced by the addition of new defendants because the new

claims do not drastically change the scope of discovery. SolutionInc and Lavigne’s liability is

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based on the same underlying conduct as Pullen and PureHD. Regardless of whether
SolutionInc and Lavigne were joined in the current lawsuit, Pullen’s communications with them
would have been a focus of the litigation and they would have been deposed. Both parties listed
Lavigne and SolutionInc in their Rule 26 disclosures. Defendants are not prejudiced by adding
new defendants whose liability is based on the same set of facts and circumstances as
Defendants’ liability because Guest-Tek is not expanding the scope of discovery in the case.

Based on the fact that the parties have not conducted any depositions yet, have not
completed written discovery, the new claims do not greatly expand the scope of discovery, and
the fact that Defendants’ only recently produced the discovery necessary to amend the
Complaint, Defendants are not prejudiced by adding SolutionInc and Lavigne as defendants in
this action.

Finally, SolutionInc and Lavigne will also not be prejudiced by their addition to this case.
If the discovery deadline is extended, SolutionInc and Lavigne will have six months to obtain
any discovery it seeks. Moreover, counsel for Defendants, Jackson Lewis, has indicated that it
represents Solutioninc. While counsel has not indicated whether it represents Mr. Lavigne
individually, it is likely that they will since he is the President of SolutionInc. Since all
Defendants will most likely be represented by the same counsel, it will not require any learning
curve for SolutionInc and Lavigne to get caught up to the little progress that has been made in
this case.

C. Guest-Tek Is Promptly Asserting The Claims Against SolutionInc And
Lavigne

Guest-Tek first discovered Lavigne and SolutionInc’s unlawful conduct in February
2010. While Guest-Tek certainly was aware of Lavigne and Solutioninc earlier, Defendants, by

stonewalling during discovery, were able to prevent Guest-Tek from learning the true role played

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by Lavigne and SolutionInc in directing Pullen’s conduct. Once Guest-Tek discovered that
SolutionInc and Lavigne were engaged in a conspiracy with Defendants and had aided and
abetted their fiduciary duty by, inter alia, stealing Guest-Tek’s delivery methodology, the scope
of the conspiracy and Lavigne and SolutionInc’s participation in it came into focus.

Guest-Tek spent years and millions of dollars in research and development to construct
the proper circuitry, hardware, software and components that would deliver the quality of FTG
services necessary for a hotel chain. Defendants, with Lavigne and SolutionInc’s substantial
assistance, misappropriated this technology and are offering it as their own. In fact, Lavigne and
SolutionInc, made an offer of employment to a Guest-Tek employee who had knowledge of the
_ FTG delivery method and transmitted that offer through Pullen. Am. Compl. ff 68-72.

Defendants’ discovery tactics permitted them to hide their theft of Guest-Tek’s delivery
methodology. As part of the Stipulated Order entered at the beginning of the case, Defendants
agreed to give Guest-Tek a copy of all the files on their computers. Defendants failed to
disclose, however, that Guest-Tek files remained on their computers and that the copy was made
months earlier on June 25, 2009. Since the injunction was not entered by the Court until October
14, 2009, Defendants were given almost three additional months to access Guest-Tek’s
confidential information. On November 4, 2009, Guest-Tek demanded that Defendants produce
another copy of the files on their computer so that they could see what files Defendants accessed.
After several meet and confers, Defendants finally agreed to produce a list of Guest-Tek files
that Defendants accessed after the June 24, 2009 copy was made.

Despite repeated demands, Defendants did not provide Guest-Tek with the list of Guest-
Tek files that Defendants accessed, after the June 24, 2009 copy was made until February 5,

2009. The list showed that Defendants accessed thirty-seven different Guest-Tek files after the

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first copy was made. Some of the files were accessed as late as December 21, 2009. When
Guest-Tek compared the files Pullen accessed to their copy of them, among other things, Guest-
Tek’s counsel realized that Pullen had downloaded and accessed a schematic drawing that
showed the picture of the rack of equipment Guest-Tek used for FTG services. On February 8,
2009, Defendants finally agreed to remove the “Attorneys Eyes Only” designations from the
boilerplate pages of their PureHD proposals, including the Bill of Materials. PureHD’s Bill of
Material was identical to Guest-Tek’s Bill of Materials. With these two pieces of information,
Guest-Tek’s counsel could finally communicate with Guest-Tek and it learned that Defendants
had misappropriated more than just names and addresses of customers, they had misappropriated
Guest-Tek’s FTG delivery methodology. Although it might seem like the delivery of FTG
services is a simple process involving few components, in reality the correct combination of
materials and equipment necessary to deliver it is very complicated. Guest-Tek spent years and
millions of dollars in research and development bringing its product to the market with the
necessary quality. Solutioninc would never have had access to the components or have been
able to deconstruct the system.

Also in February, Defendants finally produced an attachment to an e-mail Pullen sent to
several of the senior officers of Solutioninc. In an email, dated May 1, 2009, Pullen forwarded
to SolutionInc and Guest-Tek’s draft “Promotional Program Non-Binding Term Sheet with
EchoStar Satellite L.L.C. The Term Sheet contained proposed terms of the Guest-Tek’s contract
with EchoStar. It also contained internal Guest-Tek comments. Every page of the document is
marked “Confidential and Proprietary.” EchoStar is part of DISH Network. PureHD has
partnered with DISH Network to provide television signal as part of its FTG package. The

Term Sheet Pullen shared with Lavigne and SolutionInce would help Defendants’ negotiations

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with DISH Network because it would give them a structure for the arrangement, give them
knowledge of Guest-Tek’s pricing and give them a “head start” in the market. Am. Compl.

{{ 85-86. Defendants identified getting an EchoStar license their number one business
development priority. The DISH Network license was necessary because Guest-Tek’s delivery
system was designed to function with it.

Once Guest-Tek learned that Defendants and SolutionInc were using their delivery
system, the other documents many of which had also been labeled AEO, confirmed that
SolutionInc was deeply engrained in the theft of Guest-Tek’s trade secrets. For example, the e-
mails further demonstrate Pullen and Lavigne discussing how to get one of the major component
suppliers for Guest-Tek’s delivery methodology service to join with them at PureHD. Lavigne is
orchestrating the coup of this component manufacturer, as well as being directly involved with
the solicitation of one of Guest-Tek’s principle engineers.

Through their improper designation of documents as AEO, their stonewalling during
discovery, and their tardy production of the “certification” file, Defendants prevented Guest-Tek
from learning the role that SolutionInc and Lavigne played in the theft of Guest-Tek’s trade
secrets and proprietary information until February 2010. Since Guest-Tek did not discover the
role of SolutionInc and Lavigne until mid-February, it is promptly seeking leave to amend.

D. Guest-Tek’s Amended Complaint Is Asserted In Good Faith And Not To
Delay The Proceedings.

Based on Defendants’ failure to timely produce documents, Guest-Tek has previously
filed a motion to amend the Scheduling Order. Such a request was made independent of the
current motion. In the L.R. 7.1 conference, on the motion to extend discovery, Defendants
seemed inclined to consider a short extension of the deadlines by 30 or 60 days, but would not

consider an extension of six months. As explained previously, Guest-Tek is not seeking leave to

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add SolutionInc and Lavigne merely to delay the proceedings, but rather the proceeding have
already been inevitably delayed by Defendants’ discovery tactics. Guest-Tek is the plaintiff in
this action and is not interested in unnecessary delay. However, it is interested in vindicating its
rights against all wrongdoers.

Guest-Tek is asserting its new claims in good faith. In the original Complaint, Guest-Tek
could only allege that Pullen worked with SolutionInc to establish PureHD. See Compl. ff 75-
77. When PureHD filed its corporate disclosure statement and listed SolutionInc as its parent
company, Guest-Tek still did not file suit against SolutionInc because it could not demonstrate
that SolutionInc had not done anything wrong. Guest-Tek has only sued SolutionInc and
Lavigne now because when the discovery produced by Defendants during this litigation has
demonstrated that Defendants and SolutionInc joined together to steal Guest-Tek’s technology
and the benefit of millions of dollars and years of research and development, Guest-Tek realized

it needed to protect itself.

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CONCLUSION

For the foregoing reasons, Defendants request that the Court grant Guest-Tek leave to
amend to add defendants SolutionInc Ltd. and Glen Lavigne, by filing the Amended Complaint

attached as Exhibit A.

GUEST-TEK INTERACTIVE ENTERTAINMENT
LTD. and GUEST-TEK INTERACTIVE
ENTERTAINMENT INC.,

By their attorneys,

/s/ David M. Cogliano

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Dated: March 19, 2010

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CERTIFICATE OF SERVICE

I hereby that certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and
paper copies will be sent to those indicated as non-registered participants on March 19, 2010 by

first class mail.

/s/ David M. Cogliano
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